
Per curiam.
After the respondent, Morgan W. Scott, failed to file a responsive answer to this disciplinary proceeding, the special master found by default that Scott had settled a client’s claim for $25,000; that Scott represented in the settlement statement that he would retain $4,933 of the settlement proceeds to pay the client’s medical providers; and that, although Scott retained $4,933 of the settlement proceeds, he has neither paid the medical providers nor accounted to the client for any portion of those proceeds. The special master found that Scott had violated Standards 3, 4, 45, 61, 63, 65, and 68 of Bar Rule 4-102. The Review Panel of the State Disciplinary Board approved the findings of the special master, and recommends to this Court that we disbar Scott. Having reviewed the record, we adopt the recommendation of the Review Panel. Accordingly, we disbar Scott from the practice of law in the State of Georgia.

Disbarred.


All the Justices concur.

Hurl R. Taylor, Jr., for Scott.
